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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      IN ADMIRALTY

                                  CASE NO.:1:22-cv-20230-DPG

 PENINSULA PETROLEUM FAR EAST PTE. LTD.

        Plaintiff,
 vs.

 M/V CRYSTAL SYMPHONY, its
 Engines, tackle, apparel, et al

        Defendant in rem, and

 CRYSTAL CRUISES, LLC.
 STAR CRUISES (HK) LIMITED.

       Defendants in personam.
 __________________________________/
             MOTION AND MEMORANDUM FOR ISSUE OF WARRANT
                           FOR ARREST OF VESSEL, IN REM

        Plaintiff Peninsula Petroleum Far East Pte. Ltd. (“Peninsula”) hereby moves this Court,

 pursuant to Supplemental Rule C for Certain Admiralty and Maritime Claims of the Federal

 Rules of Civil Procedure to issue a warrant for arrest of the M/V CRYSTAL SYMPHONY, in

 rem ("Vessel") and in further support, in addition to the Verified Complaint filed herewith, states

 as follows:

        1.      Peninsula provided marine fuel, a maritime necessity, to the Vessel on the order

 of the Vessel’s charterers or managers, Crystal Cruises, LLC (“Crystal”) and Star Cruises (HK)

 Limited (“Star”).

        2.      Peninsula invoiced Crystal and Star, respectively, for those deliveries. To date,

 those invoices remain unpaid.
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          3.      Peninsula has a valid maritime claim and lien against the Vessel for breach of

 maritime contract arising from non-payment for the maritime necessaries provided to the Vessel.

          4.      Supplemental Rule C(1) provides that an action in rem may be brought "to

 enforce any maritime lien," or "[w]henever a statute of the United States provides for a maritime

 action in rem or proceeding analogous thereto."

          5.      Supplemental Rule C(3)(a)(ii)(A) provides that where a maritime lien is sought to

 be enforced by an action in rem, the Court must review the complaint and any supporting

 papers. If the conditions for an in rem action appear to exist, the court must issue an order

 directing the clerk to issue a warrant for the arrest of the Vessel or other property that is the

 subject of the action.

          6.      The conditions for an in rem action against the Vessel having been met, and the

 grounds for the issuance of a warrant of arrest having been established, Plaintiff respectfully

 requests that an Order be entered directing the clerk of the Court to issue a warrant for the arrest

 of the Vessel.

          WHEREFORE, Plaintiff prays that this Court enter an order in the form attached hereto,

 directing the Clerk of the Court to issue a warrant for the arrest of the Vessel and to deliver said

 warrant to the United States Marshal for execution, and all other relief that justice and equity

 allow.

          A proposed Order and Warrant for Arrest are attached hereto.

 Dated: January 20, 2022

  BLANCK & COOPER, P.A.                                 /s/ J. Stephen Simms
  5730 S.W. 74th Street, Suite #700                     J. Stephen Simms
  Miami, Florida 33143                                  (pro hac vice motion to be filed)
  Phone: (305) 663-0177                                 Simms Showers LLP
  CELL:: (305) 283-5390                                 201 International Circle, Suite 230
                                                        Baltimore, Maryland 21030

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 Attorneys for Plaintiff Peninsula


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